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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
          v.                                  :       Criminal Case No.
                                              :
KENNETH JOSEPH OWEN THOMAS,                          :          1:21-cr-00552 (CRC)
                                              :
                  Defendant                                 :
___________________________________________


       DEFENDANT THOMAS’ MOTION FOR MISTRIAL ON FIRST
    AMENDMENT GROUNDS, WITH PROPOSED CURATIVE JURY
                            INSTRUCTION
     Comes now the Defendant Kenneth Joseph Owen Thomas, by and through

undersigned counsel, with this motion for mistrial on First Amendment grounds.

      The United States is prosecuting the defendant for resisting officers during a

civil disorder and obstruction of an official proceeding using almost nothing but

First Amendment protected speech and advocacy (cobbled together with evidence

that Thomas engaged in some moments of disorderly contact with a few law

enforcement officers outside the Capitol on January 6).

      The evidence offered at trial by the United States through Special Agent

Alexis Brown on May 18 consists almost entirely of political advocacy and

persuasive political speech and expression. Among Thomas’ admitted statements

are “Fight for the American worker,” “Stop the steal,” “This is Peaceful. This is a
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Peaceful Protest,” “Wait until we reach the Capitol because there’s going to be

drama,” “Police stand down,” “Honor your oath,” “Traitors,” “We want peace,”

“We have the right to life, liberty and the pursuit of happiness,” and “Hold the

line.”

         Although the First Amendment broadly protects “speech,” it does not protect

the right to “fix prices, breach contracts, make false warranties, place bets with

bookies, threaten, [or] extort.” Schauer, Categories and the First Amendment: A

Play in Three Acts, 34 Vand.L.Rev. 265, 270 (1981).

         “[T]he line between permissible advocacy and impermissible incitation to

crime or violence depends, not merely on the setting in which the speech occurs,

but also on exactly what the speaker had to say.” Young v. American Mini

Theatres, Inc., 427 U.S. 50, 66 (1976) (plurality opinion); see also Musser v. Utah,

333 U.S. 95, 100–103 (1948) (Rutledge, J., dissenting).

         And of course, the most protected speech of all is political speech. Citizens

United v. Federal Election Com'n, 558 U.S. 310 (2010). A criminal prosecution

based on fundamental political advocacy is the most abhorrent prosecution

imaginable.

         Accordingly, Defendant demands this trial be declared a mistrial, and that a

new trial commence based on actual evidence of crime rather than political speech

and advocacy.
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        PROPOSED LIMITING INSTRUCTION

        In the alternative, Defendant asks that the Court give the following curative

instruction:


        Proposed Instruction No. __
        First Amendment Rights

        Every person has the right to petition his or her government, and
        express ideas and bring their concerns to their legislators. People also
        have the right to peaceably assemble with others to petition their
        government. And under the First Amendment, a person has a
        constitutional right to make violent, hateful or antigovernment
        statements and threats and may call upon others to act violently,
        except in rare circumstances where the speaker knows such violent
        threats have an immediate likelihood of getting others to immediately
        carry out such violence1 and reasonably knows that others have the
        ability and are likely to carry out such threats.2

        These First Amendment rights apply to every count in the indictment.
        You may not use the defendant’s protected speech, petitioning,
        advocacy or expression as support for the government’s allegations.
        If you find that the defendant’s conduct was First Amendment
        protected speech, expression, or advocacy, you must find the
        defendant not guilty.

        The United States Capitol is one of America’s largest public
        buildings. It is the headquarters of the federal Legislative Branch of
        government, where the American people have broad rights to petition,
        advocate, protest, and meet with members of Congress and staff in
        order to promote or prevent the advancement of
        legislation or other congressional acts.3

1
  Brandenburg v. Ohio, 395 U.S. 444, 449, 89 S.Ct. 1827, 1830, 23 L.Ed.2d 430 (1969) (overturning a conviction
for violent threatening speech on grounds that the First Amendment protects all but threats of imminent lawless
violence and “fighting” words, Chaplinsky v. New Hampshire, 315 U.S., at 571–572, 62 S.Ct., at 768–769. The
Minnesota Supreme Court erred in its application of the Chaplinsky fighting words test and consequently interpreted
the St. Paul ordinance in a fashion that rendered the ordinance facially overbroad.
2
  R.A.V. v. City of St. Paul, 505 U.S. 377 (1992) (striking down hate crime statute).
33
   Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575 (D.D.C. 1972) (the Capitol Grounds are
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Dated: May 20, 2023                                 RESPECTFULLY SUBMITTED
                                                    KENNETH JOSEPH OWEN THOMAS,

                                                    By Counsel

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                                           CERTIFICATE OF SERVICE

        I hereby certify that this document is being filed on this May 20, 2023, with the Clerk of
the Court by using the U.S. District Court for the District of Columbia’s CM/ECF system, which
will send an electronic copy of to the following CM/ECF participants. From my review of the
PACER account for this case the following attorneys are enrolled to receive notice and a copy
through the ECF system.
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“an area to which access cannot be denied broadly or absolutely.”); Community for Creative Non-Violence v.
Kerrigan, 865 F.2d 382, 383, 387 (1989) (“there is no doubt that the Capitol Grounds are a public forum.”)
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